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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DISTRICT



Christian Goff                                            Civil Action No.

                     Plaintiff
v.


Equifax Information Services, LLC                         JURY TRIAL DEMANDED



                     Defendant

                                         CIVIL ACTION

     1.     This is an action for actual, statutory, and punitive damages, costs, and attorney’s fees

pursuant to 15 U.S.C. §1681 et seq. (Fair Credit Reporting Act).

                                   JURISDICTION AND VENUE

     2.     Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

     3.     Venue in this District is appropriate under 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the claim occurred here since Plaintiff is a citizen of

the Eastern District of Texas, and their damages occurred here.

                                               PARTIES

     4.     Plaintiff is a natural person and a “consumer” as that term is defined by 15 U.S.C. §

1681a(c).

     5.     Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a Foreign

For-Profit Limited Liability Company registered to do business in Texas and with a registered

agent in Texas. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f),



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and is engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d),

to third parties. Based on information and belief, Equifax is reporting consumer credit files on

over 250,000 consumers in Eastern District of Texas.

                                   FACTUAL ALLEGATIONS

   6.      Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.

   7.      Defendant is reporting Plaintiff’s Pennsylvania Higher Education Assistance Agency

d/b/a Fedloan Servicing (Fedloan) accounts # 5FD0* on Plaintiff’s credit report.

   8.      Plaintiff’s debt with Fedloan arose from student loans. Fedloan closed the accounts

on 06/2014, after the accounts were closed with a zero balance. Plaintiff’s payment obligations to

Fedloan ceased.

   9.      The trade lines were updated to reflect a $0 balance when the accounts were closed

on 06/2014.

   10.     According to Plaintiff’s Equifax credit report dated 01/30/2019, Plaintiff’s Fedloan

accounts were closed with a $0 balance on or about 06/2014. Despite the Fedloan accounts being

closed with a $0 balance on or around 06/2014, Fedloan continued to report an erroneous pay

status of “Over 120 Days Past Due” for the above listed accounts on Plaintiff’s Equifax report

dated 01/30/2019. It is impossible and incorrect for accounts that are closed with a “0” balance to

still be reporting as Over 120 Days Past Due as of 01/30/2019. Not only are the Fedloan accounts

false on the face of the credit report, but this reporting is extremely misleading because it makes

it look like the Plaintiff is still late on these accounts that were closed with a zero balance. In

addition to being inaccurate, this reporting misleads the credit scoring algorithms used by the



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lending industry and thus lowers credit scores and further damages Plaintiff’s creditworthiness

and credit reputation.

   11.     The pay status is a significant data field that represents the current condition of the

accounts. The data field works independently of the other data fields in the reporting tradeline

and is critical in maintaining accurate reporting. The accounts are inaccurately reporting that

Plaintiff is currently “Over 120 Days Past Due” on accounts that have a $0 balance. Plaintiff’s

financial obligations that were once due to Fedloan have ceased. At the time that the accounts

were closed, the accounts should have been reported with a “Pay Status” data field showing

“closed”. Instead of reporting the accounts as currently “Over 120 Days Past Due”, the correct

reporting would have reported the pay status as “closed”. Reporting the accounts as currently

Over 120 Days Past Due appears as if the accounts are a very recent delinquency, which they are

not. Recent delinquencies are more damaging than older delinquencies because they are weighed

heavier in determining credit scores. Because the “pay status” acts independently from the other

information, the inaccurate reporting of Over 120 Days Past Due is reporting as if Plaintiff is

currently late on payments to Fedloan even if those late payments are $0. Listing a debt with a $0

balance owed as past due is nonsensical. If no balance is owed, the consumer cannot be late

paying the balance, the pay status must report as “closed”. By continuing to report a balance,

however, lenders believe that the consumer is currently late, which negatively reflects on

consumers’ credit repayment history, their financial responsibility as a debtor, and their credit

worthiness/reputation.

   12.     The computer algorithms used by the lending industry to determine a consumer’s

credit worthiness will misinterpret the status of Plaintiff’s Fedloan accounts as reported by

Equifax to be a current past due obligation, thus negatively affecting Plaintiff’s credit worthiness.



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    13.     Plaintiff will provide expert testimony at the appropriate time to demonstrate the

negative effects of reporting a historical pay status in the current pay status data field.

    14.     Plaintiff disputed the inaccurate late pay status on their Fedloan accounts through a

dispute letter sent to Equifax.

    15.     Equifax did not follow reasonable procedures to assure maximum possible accuracy

and has been reporting false and inaccurate information even after they knew or should have

known that the information was incorrect.

    16.     Equifax did not provide a good faith investigation into the disputed pay status of the

Fedloan accounts. Equifax did nothing more than parrot inaccurate data from Fedloan in their

investigation.

    17.     Fedloan did not provide a good faith investigation and failed to modify/correct, delete

or block the disputed pay status of the Fedloan accounts.

    18.     Based upon information and belief, Equifax received Plaintiff’s dispute and

transmitted the dispute to Fedloan, triggering the investigation duties for defendant; however,

defendant failed. Had they conducted a proper investigation, they would have discovered that the

reporting of a late pay status for $0 balance accounts is nonsensical and wrong. Instead, Equifax

verified the erroneous trade line displaying the late pay status.

    19.     Fedloan continues to report, and Equifax continue to allow Fedloan to report, a pay

status indicating that the debt is currently late.


                             COUNT I
   EQUIFAX INFORMATION SERVICES LLC’S VIOLATION OF 15 U.S.C. § 1681e(b)
                 OF THE FAIR CREDIT REPORTING ACT




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   20.        Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

   21.        Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined under

15 U.S.C. § 1681a.

   22.        Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.

   23.        Equifax negligently and willfully failed to maintain and/or follow reasonable

procedures to assure maximum possible accuracy of the information it reported to one or more

third parties pertaining to Plaintiff, in violation of 15 U.S.C § 1681e(b). This is evidenced by the

fact that upon information and belief, Equifax allowed Fedloan to report a pay status as actively

delinquent despite a $0 balance indicated on the trade line.

   24.        Equifax is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Equifax was complying with 15 U.S.C.

§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

accounts with a zero balance from being reported with a current status of past due or late.

   25.        Plaintiff’s Fedloan accounts were closed with a $0 balance, but Equifax continues to

report the accounts with a late/past due status. If Equifax had reasonable procedures, they would

not allow accounts to report as though the accounts are currently past due, with a “$0” balance.

This is nonsensical. These accounts are reporting as though the Plaintiff is currently past due

each month. With this type of reporting, Plaintiff will never be able to make their accounts

current. Equifax lacks the procedures to avoid such faulty reporting. Equifax knows that these

accounts were paid; however, they continue to report a current status as past due.



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   26.        As a direct and proximate cause of Equifax’s failure to perform its duties under the

FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation,

and embarrassment.

   27.        Equifax’s conduct, action, and inaction was willful, rendering it liable for actual and

statutory damages, and punitive damages in an amount to be determined by the jury pursuant to

15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Equifax was negligent, which

entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.

                                            COUNT II
          EQUIFAX INFORMATION SERVICES LLC’S VIOLATION OF 15 U.S.C. §
          1681i(a)(1)(A) & 15 U.S.C. §1681i(a)(5) OF THE FAIR CREDIT REPORTING
                                               ACT


   28.        Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

   29.        Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined under

15 U.S.C. § 1681a.

   30.        Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.

   31.        Equifax violated their duty under 15 U.S.C. §1681i(a)(1)(A) & 15 U.S.C. §1681i(a)(5)

for failing to conduct a good faith investigation and failing to permanently delete or modify in

accurate information after receiving Plaintiff’s dispute. Plaintiff requested that Equifax

reinvestigate the inaccurate reporting of the current pay status on their Fedloan accounts via

detailed and thorough dispute letter specifically disputing the inaccurate current “Pay Status:

Over 120 Days Past Due”.



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   32.     Equifax did not conduct a good faith and reasonable investigation and failed to

permanently delete or modify the inaccurate information after receiving Plaintiff’s dispute. If

they had, they would have discovered that Fedloan was reporting an incorrect historical pay

status to them instead of an accurate current pay status. All the information Equifax needed to

determine this was in its own records and files. Equifax failed in its duties under the Fair Credit

Reporting Act and has not conducted its own independent investigation into Plaintiff’s dispute of

the Fedloan accounts. Equifax simply parroted data from Fedloan. Equifax did nothing more

than regurgitate data from Fedloan.

   33.     The fact that Equifax is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable

and have been viewed by third parties, is proof that Equifax did not conduct a reasonable

investigation. If Equifax would have thoroughly investigated the issues, they would have

determined that the accounts were transferred, with a “$0” balance and still reporting as if

Plaintiff is currently late and past due. If Equifax had conducted a reasonable and good faith

investigation they would have corrected or deleted the Plaintiff’s accounts that are inaccurate and

misleading.

   34.     As a direct and proximate cause of Equifax’s failure to perform its duties under the

FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation,

and embarrassment.

   35.     Equifax’s conduct, action, and inaction was willful, rendering it liable for actual and

statutory damages, and punitive damages in an amount to be determined by the jury pursuant to

15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Equifax was negligent,

which entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.



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   36.     Plaintiff has suffered actual harm due to Equifax still reporting the negative tradeline

provided by Fedloan on Plaintiff’s Equifax report even though Equifax was put on notice of the

inaccurate negative reporting through Plaintiff’s dispute letter.

   37.     At all times pertinent hereto, Defendant was acting by and through its agents,

servants, and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of Defendant herein.

   38.     At all times pertinent hereto, the conduct of Defendant, as well as that of its agents,

servants and/or employees, was malicious, intentional, willful, reckless, and in grossly negligent

disregard for federal laws and the rights of the Plaintiff herein.

                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor against Defendant based on the

following requested relief:

   a. Actual and compensatory damages pursuant to 15 U.S.C. §1681;

   b. Statutory damages pursuant to 15 U.S.C. §1681;

   c. Punitive damages pursuant to 15 U.S.C. §1681;

   d. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n, §1681o; and

   e. Such other and further relief as may be necessary, just and proper.

Dated: January 29, 2021




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   Respectfully Submitted,


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